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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

SAYRA SUAREZ, on behalf of herself and all
others similarly situated,

                               Plaintiff,             Case No.:

                v.
                                                      CLASS ACTION COMPLAINT AND
EMIRATES,                                             JURY DEMAND

                               Defendant.


       Plaintiff Sayra Suarez (“Plaintiff”), individually and on behalf of all others similarly
situated, alleges the following on the investigation of her counsel and upon information and
belief, except as to Plaintiff’s allegations regarding her own actions which are based on personal
knowledge.
                                  NATURE OF THE ACTION

       1.       This is a class action lawsuit regarding Defendant Emirates’ (“Emirates Airlines”

or “Defendant”) failure to provide full refunds to customers whose flights were cancelled as a

result of the coronavirus, or COVID-19.

       2.       Given the outbreak of the coronavirus, Defendant Emirates Airlines has cancelled

a vast percentage of their international and United States flights. However, Defendant has, to

date, refused to issue refunds for flights that Defendant cancelled.

       3.       The United States Department of Transportation (“DOT”) has “issued an

Enforcement Notice clarifying, in the context of the 2019 Novel Coronavirus (COVID-19)

public health emergency, that U.S. and foreign airlines remain obligated to provide a prompt

refund to passengers for flights to, within, or from the United States when the carrier cancels

the passenger’s scheduled flight or makes a significant schedule change and the passenger

chooses not to accept the alternative offered by the carrier. The obligation of airlines to provide




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refunds, including the ticket price and any optional fee charged for services a passenger is unable

to use, does not cease when the flight disruptions are outside of the carrier’s control (e.g., a result

of government restrictions).”1 Indeed, the DOT’s Enforcement Notice makes perfectly clear that

offering “vouchers or credits for future travel” is not an adequate or appropriate substitute for

airlines’ obligations to offer refunds for cancelled flights.2

          4.       Emirates Airlines is the national flag carrier of the United Arab Emirates and the

largest airline in the Middle East. Emirates Airlines carried over 4 million passengers on its U.S.

routes in 2018.3 Emirates Airlines’ business was disrupted as a result of government-mandated

restrictions on travel in response to the coronavirus.

          5.       Emirates Airlines suspended all flight operates from March 25, 2020.4

          6.       Plaintiff, like many other travelers, was scheduled to fly with Emirates Airlines.

Plaintiff’s flights were scheduled to depart from or arrive in the United States: a departing flight

from Fort Lauderdale, Florida to Dubai, UAE, and a return flight from Dubai to Fort Lauderdale.

          7.       Plaintiff’s tickets were booked through the website, Orbitz.com.

          8.       Plaintiff’s departing flight was cancelled by Emirates Airlines due to the

coronavirus travel restrictions.



1
 DEP’T OF TRANSP., U.S DEPARTMENT OF TRANSPORTATION ISSUES ENFORCEMENT NOTICE
CLARIFYING AIR CARRIER REFUND REQUIREMENTS, GIVEN THE IMPACT OF COVID-19 (Apr. 3,
2020), https://www.transportation.gov/briefing-room/us-department-transportation-issues-
enforcement-notice-clarifying-air-carrier-refund (last accessed May 8, 2020) (hereinafter “DOT
NOTICE”) (emphasis added).
2
    See id.
3
 EMIRATES AND THE US, https://www.emirates.com/us/english/about-us/our-communities/our-
global-presence/emirates-and-the-united-states/ (last accessed May 8, 2020).
4
 Layan Odeh, World’s Largest Long-Haul Airline to Halt All Flights, BLOOMBERG, Mar. 22,
2020, https://www.bloomberg.com/news/articles/2020-03-22/emirates-to-suspend-all-passenger-
operations-from-march-25 (last accessed May 8, 2020).



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          9.       Upon discovering her departing flight was cancelled, Plaintiff attempted to

request a refund from Emirates Airlines, Orbitz.com, and her credit card companies.

          10.      Plaintiff never received a full refund from Emirates Airlines. Plaintiff was only

offered a travel voucher by Orbitz.com, not a cash refund.

          11.      Defendant was required by the DOT Enforcement Notice to provide Plaintiff a

prompt refund when Emirates Airlines cancelled her flight.

          12.      Emirates Airlines also represents in its Conditions of Carriage that “if we cancel a

flight,” Emirates Airlines will issue a refund in “an amount equal to the fare paid (including

taxes, fees, charges and exceptional circumstances surcharges paid) if no portion of the Ticket

has been used.”5

          13.      Defendant’s acts are in violation of the DOT’s Enforcement Notice, which

requires airlines to provide “a prompt refund to passengers . . . when their carrier cancels the

passenger’s scheduled flight.”6 The DOT Enforcement Notice applies to “U.S. and foreign

airlines.”7

          14.      Emirates Airlines’ consumers have excoriated Emirates Airlines’ refusal or failure

to provide its customers with refunds. For instance, like Plaintiff, customers on the website

tripadvisor.com have stated:




5
  EMIRATES AIRLINES CONDITIONS OF CARRIAGE § 10.2.1(a),
https://c.ekstatic.net/ecl/documents/conditions-of-carriage/US/English/conditions-of-carriage.pdf
(last accessed May 8, 2020).
6
    DOT NOTICE
7
    Id.



                                                    3
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      May 7, 2020 Review:8




      May 5, 2020 Review:




      April 2020 Review:9




8
  EMIRATES AIRLINES REVIEWS, TRIPADVISOR, https://www.tripadvisor.com/Airline_Review-
d8729069-Reviews-Emirates (last accessed May 8, 2020).
9
  EMIRATES AIRLINES REVIEWS, TRIPADVISOR, https://www.tripadvisor.com/Airline_Review-
d8729069-Reviews-or10-Emirates-Airlines.html#REVIEWS (last accessed April 27, 2020).



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       April 2020 Review:10




       15.     Plaintiff brings this action on behalf of herself and the Class for equitable relief

and to recover damages and restitution for: (i) unjust enrichment, (ii) conversion, (iii) breach of

contract, and (iv) money had and received.

                                             PARTIES

       16.     Plaintiff Sayra Suarez is a citizen of the State of Florida and resides in Miramar,

Florida. In February 2020, Ms. Suarez purchased tickets for herself and two friends for flights

on Emirates Airlines. Ms. Suarez’s flights either departed from or were destined for the United

States: a departing flight from Fort Lauderdale, Florida to Dubai, UAE on May 12, 2020, and a

return flight from Dubai to Fort Lauderdale on May 19, 2020. Ms. Suarez booked these flights

through Orbitz.com. Ms. Suarez paid approximately $727 for each round-trip ticket for a total

price of approximately $2321. At the time that Ms. Suarez purchased the tickets, she understood

that she would be entitled to a refund from Defendant if the flight was cancelled. In March 2020,

Ms. Suarez’s flights were cancelled by Defendant due to the coronavirus, COVID-19. Ms.

Suarez requested a refund from Defendant, Orbitz.com, and her credit card companies.



10
  EMIRATES AIRLINES REVIEWS, TRIPADVISOR, https://www.tripadvisor.com/Airline_Review-
d8729069-Reviews-or25-Emirates-Airlines.html#REVIEWS (last accessed May 8, 2020).



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Defendant never responded to Ms. Suarez. Ms. Suarez’s credit card companies disputed the

charge to no avail. And Orbitz.com only issued a travel voucher, not a cash refund as Ms.

Suarez had requested.

        17.     Defendant Emirates is a foreign corporation organized under the laws of the

United Arab Emirates. Defendant Emirates Airlines is a subsidiary of The Emirates Group.

Defendant’s principal place of business in the United States is at 55 East 59th Street, New York,

New York 10022. Defendant Emirates Airlines conducts substantial business throughout the

United States, including in the State of New York.

                                   JURISDICTION AND VENUE
        18.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one

member of the Class, as defined below, is a citizen of a different state than Defendant, there are

more than 100 members of the Class, and the aggregate amount in controversy exceeds

$5,000,000 exclusive of interest and costs.

        19.     This Court has personal jurisdiction over this action because Defendant maintains

its principal place of business in this District.

        20.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant

Emirates Airlines, as a foreign entity, may be sued in any judicial district.

                                CLASS ACTION ALLEGATIONS
        21.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23, on

behalf of the following “Class”:

        All persons in the United States who purchased tickets for travel on an Emirates
        Airlines flight scheduled to operate to, from, or within the United States whose
        flights were cancelled or were subject to a significant schedule change and not
        refunded.




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       22.     Subject to additional information obtained through further investigation and

discovery, the foregoing definition of the Class may be expanded or narrowed by amendment to

the complaint or narrowed at class certification.

       23.     Specifically excluded from the Class are Defendant, Defendant’s officers,

directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,

principals, servants, partners, joint ventures, or entities controlled by Defendant, and their heirs,

successors, assigns, or other persons or entities related to or affiliated with Defendant and/or

Defendant’s officers and/or directors, the judge assigned to this action, and any member of the

judge’s immediate family.

       24.     Numerosity. The members of the proposed Class are geographically dispersed

throughout the United States and are so numerous that individual joinder is impracticable. Upon

information and belief, Plaintiff reasonably estimates that there are hundreds of thousands of

individuals that are members of the proposed Class. Although the precise number of proposed

members is unknown to Plaintiff, the true number of members of the Class is known by

Defendant. Members of the Class may be notified of the pendency of this action by mail and/or

publication through the distribution records of Defendant and third-party retailers and vendors.

       25.     Typicality. The claims of the representative Plaintiff are typical of the claims of

the Class in that the representative Plaintiff, like all members of the Class, paid for a Emirates

Airlines flight that was cancelled, and did not receive a refund for the cancelled flight or for any

consequential damages and cancelations caused by the original cancelled flight. The

representative Plaintiff, like all members of the Class, has been damaged by Defendant’s

misconduct in the very same way as the members of the Class. Further, the factual bases of




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Defendant’s misconduct are common to all members of the Class and represent a common thread

of misconduct resulting in injury to all members of the Class.

       26.     Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Class and predominate over any

questions affecting only individual members of the Class. These common legal and factual

questions include, but are not limited to, the following:

               (a)     Whether Defendant failed to refund purchasers of cancelled flights

                       and the consequential damages caused thereby;

               (b)     Whether Defendant is liable to Plaintiff and the Class for unjust

                       enrichment;

               (c)     Whether Defendant unlawfully converted money from Plaintiff and

                       members of the Class; and

               (d)     Whether Plaintiff and the Class are entitled to damages, restitution,

                       equitable, injunctive, compulsory, or other relief.

       27.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Class. Plaintiff has retained counsel who are highly experienced in complex

consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on

behalf of the Class. Plaintiff has no interests that are antagonistic to those of the Class.

       28.     Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment suffered

by members of the Class is relatively small compared to the burden and expense of individual

litigation of their claims against Defendant. It would, thus, be virtually impossible for members

of the Class, on an individual basis, to obtain effective redress for the wrongs committed against




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them. Furthermore, even if members of the Class could afford such individualized litigation, the

court system could not. Individualized litigation would create the danger of inconsistent or

contradictory judgments arising from the same set of facts. Individualized litigation would also

increase the delay and expense to all parties and the court system from the issues raised by this

action. By contrast, the class action device provides the benefits of adjudication of these issues

in a single proceeding, economies of scale, and comprehensive supervision by a single court, and

presents no unusual management difficulties under the circumstances.

       29.      In the alternative, the Class may also be certified because:

                (a)    the prosecution of separate actions by individual members of the
                       Class would create a risk of inconsistent or varying adjudication
                       with respect to individual members of the Class that would
                       establish incompatible standards of conduct for the Defendant;

                (b)    the prosecution of separate actions by individual members of the
                       Class would create a risk of adjudications with respect to them
                       that would, as a practical matter, be dispositive of the interests of
                       other members of the Class not parties to the adjudications, or
                       substantially impair or impede their ability to protect their
                       interests; and/or

                (c)    Defendant has acted or refused to act on grounds generally
                       applicable to the Class as a whole, thereby making appropriate
                       final declaratory and/or injunctive relief with respect to the
                       members of the Class as a whole.

                                      CAUSES OF ACTION

                                            COUNT I
                                        Unjust Enrichment
       30.      Plaintiff incorporates and realleges each preceding paragraph as though fully set

forth herein.

       31.      Plaintiff brings this claim on behalf of herself and members of the Class against

Defendant.




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       32.      Plaintiff and the Class conferred a benefit on Defendant in the form of monies

paid to purchase airline tickets for flights that were later cancelled or subject to a significant

schedule change by Emirates Airlines.

       33.      Defendant has knowledge of these benefits.

       34.      Defendant voluntarily accepted and retained this benefit. Defendant voluntarily

retained the benefit of the purchase price of the tickets in addition to consequential damages

resulting from the cancelation (such as the customer having to cancel the return flight).

       35.      Because this benefit was obtained unlawfully, namely by selling airline tickets for

flights that were later cancelled by Emirates Airlines, it would be unjust and inequitable for the

Defendant to retain it without paying the value thereof.

                                             COUNT II
                                             Conversion
       36.      Plaintiff incorporates and realleges each preceding paragraph as though fully set

forth herein.

       37.      Plaintiff brings this claim individually and on behalf of the members of the Class

against Defendant.

       38.      Plaintiff and members of the Class have an ownership right to the monies paid for

the tickets for cancelled flights sold by Defendant, as well as for the consequential damages

resulting therefrom.

       39.      Defendant has wrongly asserted dominion over the payments illegally diverted to

them for the cancelled flights, and consequential damages resulting therefrom. Defendant has

done so every time that Plaintiff and members of the Class paid to purchase a ticket for a flight

that was later cancelled or subject to a significant schedule change by Emirates Airlines.




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       40.      As a direct and proximate cause of Defendant’s conversion, Plaintiff and

members of the Class suffered damages in the amount of the payments made for each time they

purchased a ticket for a flight that was cancelled or subject to a significant schedule change by

Emirates Airlines, and in the amount of consequential damages resulting therefrom.

                                           COUNT III
                                        Breach of Contract
       41.      Plaintiff incorporates and realleges each preceding paragraph as though fully set

forth herein.

       42.      Plaintiff brings this claim on behalf of herself and members of the Class.

       43.      Defendant entered into contracts with Plaintiff and members of the Class to

provide services in the form of flights in exchange for a set amount of money.

       44.      Defendant has breached these contracts by retaining Plaintiff and members of the

Class’ ticket prices while not providing flight services.

       45.      Plaintiff and members of the Class have suffered an injury through the payment of

money for tickets while not receiving services in return.

                                          COUNT IV
                                    Money Had And Received
       46.      Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       47.      Plaintiff brings this claim individually and on behalf of the members of the

proposed Class against Defendant.

       48.      Defendant received money in the form of airline ticket fees that was intended to

be used for the benefit of Plaintiff and the Class.




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        49.     Those airline ticket fees were not used for the benefit of Plaintiff and the Class,

and Defendant has not given back or refunded the wrongfully obtained money and airline ticket

fees to Plaintiff and the Class.

        50.     Defendant obtained roughly money in the form of airline ticket fees that was

intended to be used to provide flights for Plaintiff and the Class. However, Defendant has

retained all of the airline ticket fees while cancelling its flights that Plaintiff and members of the

Class were supposed to be passengers on.

        51.     Plaintiffs incorporate by reference the allegations in the preceding paragraphs as

if fully set forth herein.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests, individually and on behalf of the alleged
Class, that the Court enter judgment in their favor and against Defendant as follows:

        (a)     An Order certifying the proposed Class and appointing Plaintiff and her Counsel

                to represent the Class;

        (b)     An Order requiring Defendant to immediately issue refunds to Plaintiff and

                members of the Class for the cost of cancelled tickets, any cancellation fees, and

                consequential damages resulting therefrom;

        (c)     An Order of disgorgement of wrongfully obtained profits;

        (d)     An award of compensatory, statutory, and punitive damages, in an amount to be

                determined;

        (e)     An award of reasonable attorneys’ fees costs and litigation expenses, as allowable

                by law;

        (f)     Interest on all amounts awarded, as allowed by law; and

        (g)     Such other and further relief as this Court may deem just and proper.



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                                    JURY TRIAL DEMANDED

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable as of right.

Dated: May 8, 2020                               Respectfully submitted,

                                                 BURSOR & FISHER, P.A.

                                                 By:     /s/ Andrew J. Obergfell
                                                             Andrew J. Obergfell

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